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                     Exhibit "A"
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            SETTLEMENT A-GREEMENT AND MUTUAL RELEASE


       This Settlement Agreement and Mutual Release ("Agreement") is made by and

between The Law Offices of Bruce J. Chasan, LLC, Bruce J. Chasan, Esq., Lenwood

Hamilton, John M. Pierce, Esq, and the law firm Pierce Bainbridge Beck Price & Hecht,

LLP (including its partners, associates, and employees), and including any and all

representatives, agents, servants, successors in interests, and/or assigns of all of the

foregoing.

                                         RECITALS

       A.     On or about Dec. 31 ~ 20 16, Lenwood Hamilton engaged The Law Offices

of Bruce J. Chasan, LLC to represent him in a civil action pertaining to Hamilton's right

of publicity and related claims against Epic Games, Inc., Lester Speight, and Microsoft

Corpor&tion (including certain divisions and subsidiaries of Microsoft Corporation),

regarding the alleged use of Hamilton's likeness and voice in the Gears of War

videogame series, and on that date Hamilton signed an Engagement Letter provided by

the Law Offices of Bruce J. Chasan, LLC;

       B.     The Engagement Letter signed by Hamilton on or about Dec. 31, 2016

provided numerous terms including, inter alia, that the representation claims would be

handled as a contingent fee matter, but if Hamilton terminated the representation, he

would be liable for hourly attorney's fees on a quantum meruit basis;

       C.     On January 11, 2017, Attorney Bruce J. Chasan, Esq., of The Law Offices

of Bruce J. Chasan, LLC filed a civil action complaint in the U.S. District Court for the


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Eastern District of Pennsylvania, Lenwood Hamilton v. Lester Speight, et al., No. 2017-

cv-0169~AB,   to assert Hamilton's right of publicity claims;

        D.    Attorney Chasan filed an Amended Complaint for Hamilton on or about

Feb. 14, 2017, and a Second Amended Complaint on or about Aprill4, 2017;

        E.    Attorney Chasan responded to motions to dismiss the Amended Complaint

and the Second Amended Complaint, and on December 18, ZO 17, the court denied the

motion to dismiss the Second Amended Complaint;

        F.    Attorney Chasan framed and served discovery to the defendants;

        G,    Attorney Chasan worked with Hamilton to craft objections and responses to

discovery requests served to Hamilton by the Defendants;

        H.    In about mid~March 20 18, Attorney Chasan was introduced to Attorney

John M. Pierce, Esq. as someone who might be able to co-counsel with Chasan and bring

financing to pay the expenses of the litigation;

        I.    On or about March 20, 20 18, Chasan arranged for Hamilton to·meet with

Pierce and himself at the premises of The Law Offices of Bruce J. Chasan, LLC, in

Philadelphia, PA to discuss possible joint representation and financing the litigation;

        J.    Hamilton had had no prior contact with Pierce before the March 20, 2018

meeting at the premises of The Law Offices of Bruce J. Chasan, LLC;

        K.     On or about March 27, 2018, Hamilton terminated the representation of

Chasan and the Law Offices of Bruce J. Chasan, LLC, and retained Pierce and Pierce's

law firm, Pierce Bainbridge Beck Price & Hecht, LLP;



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       L.    Hamilton terq1inated Chasan without payment of any accrued hourly fees

based on quantum meruit;

       M.    On or about March 28, 2018, Chasan brought to Pierce's attention that

Hamilton was liable to the Law Offices of Bruce J. Chasan, LLC, for attorney's fees,

which amounted to approximately $320,000 based on hourly billing, and Chasan

requested payment from Pierce Bainbridge Beck Price & Hecht, LLP;

       N.    On or about April28, 2018, Chasan informed Pierc~ that because neither

Hamilton nor anyone else had paid the accrued legal fees of The Law Offices of Bruce J.

Chasan, LLC, the Law Offices of Bruce J. Chasan, LLC and Chasan would seek recourse

by filing a lawsuit against Pierce and the law firm Pierce Bainbridge Beck Price & Hecht,

LLP;

       0.    On or about May 1, 2018, Pierce initiated settlement negotiations with

Chasan to resolve the dispute over payment of attorney's fees;

       P.     In view of Pierce's settlement overture, Chasan and The Law Offices of

Bruce J. Chasan, LLC refrained from filing suit and engaged with Pierce over a period of

more than four months to exchange settlement proposals, which extended to September

15, 2018;

       Q.     On September 15, 2018, Chasan and The Law Offices ofBruce J. Chasan,

LLC reached agreement on settlement terms with Pierce and the law firm Pierce

Bainbridge Beck Price & Hecht, LLC.




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                                       TERMS

       1.     Payment. Pierce Bainbridge Beck Price & Hecht, LLP, John M. Pierce,

Esq., and Lenwood Hamilton, or any one of them, singly or in combination, shall pay The

Law Offices ofBruce J. Chasan, LLC the sum of One Hundred Sixty Thousand Dollars

($160,000.00) in full satisfaction of all claims that could be asserted by The Law Offices

of Bruce J. Chasan, LLC and Bruce J. Chasan, Esq. arising out of Attorney Chasan's

representation of Hamilton in the case of Lenwood Hamilton v. Lester Speight, et al., No.

2017-cv-0169-AB filed in the U.S. District Court for the Eastern District of

Pennsylvania.

       2.       No other payment. Except for the payment in paragraph 1 above, there

will be no further payment to The Law Offices of Bruce J. Chasan, LLC or Bruce J.

Chasan, Esq. of any kind for any reason by Pierce Bainbridge Beck Price & Hecht, LLP,

or John M. Pierce, Esq., or Lenwood Hamilton, regardless of the outcome of Hamilton's

right of publicity case in the U.S. District Court in the Eastern District of Pennsylvania.

       3.       Release by Cba~an Parties. In consideration of the payment in paragraph

1 above, The Law Offices of Bruce J. Chasan, LLC and Bruce J. Chasan, Esq. henceforth

remise, release and forever discharge any and all claims demands, actions, causes of
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action, suits, debts, torts or contracts whatsoever, in law or at equity, against the entire

world in connection with the Chasan Parties' representation of Lenwood Hamilton in his

right of publicity case in the U.S . District Court in the Eastern District of Pennsylvania.

       4.       Release by Pierce, the Pierce Bainbridge law firm, and Hamilton. John

M. Pierce, Esq., and Pierce Bainbridge Beck Price & Hecht, LLP, and Lenwood

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Hamilton henceforth remise, release and forever discharge any and all claims, demands,

actions, causes of action, suits, debts, torts or contracts whatsoever, in law or at equity,

against The Law Offices of Bruce J. Chasan, LLC and Bruce J. Chasan, Esq., in

connection with the Chasan Parties' representation ofLenwood Hamilton in Hamilton's

right of publicity case in the U.S. District Court for the Eastern District ofPennsylvania.

        5.    Non-disparagement. John M. Pierce, Esq., and Pierce Bainbridge Beck

Price & Hecht, LLP, and Lenwood Hamilton, and The Law Offices of Bruce J. Chasan,

LLC and Bruce J. Chasan, Esq., all mutually agree to non-disparagement of anyone

among these settling parties in connection with the handling of Hamilton' s right of

publicity case in the U.S. District Court for the Eastern District of Pennsylvania.

        6.      No Admission of Liability. The payment in paragraph 1 above shall not be

construed as an admission of liability; the payment is being made solely for the purpose

of compromising disputed claims and avoiding the uncertainty, nuisance and expense of

litigation.

        7.      Warranties. The Chasan Parties warrant that they know of no other

persons who have any interest in attorney's fees in connection with Hamilton' s right of

publicity case in the U.S. District Court for the Eastern District of Pennsylvania;     Pierce

and Pierce Bainbridge Beck Price & Hecht, LLP and Hamilton each warrant that they

know of no other persons who have any interest in the Chasan Parties' handling of

Hamilton' s right of publicity case in the U.S. District Court for the Eastern District of

Pennsylvania.



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       8.     Signatures in Counterparts Acceptable. This Settlement Agreement and

Mutual Release may be signed in counterparts, and may be delivered via electronic mail

or facsimile, and such delivery shall bind the parties.

       9.     Time and Manner of Payment. The $160,000.00 payment called for in

paragraph 1 above shall be made within fourteen ( 14) days of the execution of this

Settlement Agreement and Mutual Release; said payment may be made by certified check

payable to The Law Offices of Bruce J. Chasan, LLC, or by wire transfer to the Chasan

Law Offices' IOLTA account in PNC Bank, Philadelphia, PA, Routing No. 031000053,

Account No. • • •

       10.    Parties. The provisions of this Agreement shall be binding upon and inure

to the benefit of the successors, assigns, heirs, beneficiaries, and personal representatives

of the parties hereto.

       11.    Third Parties. Except as expressly provided herein, no third party is

intended to secure any rights or benefits under this Agreement.

       12.     Modification. This Agreement may be modified only by the mutual

express consent of the Parties in writing.

       13.     Advice of Counsel. The undersigned represent and warrant that they are

competent adult individuals duly authorized to execute this Agreement and have had the

advice of independent counsel regarding the advisability of executing this Agreement.

       14.     Governing Law. This Agreement shall be governed and interpreted by

the laws of the Commonwealth of Pennsylvania.



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       15.     Severability. If any tenn or provision of this Agreement is determined to

be illegal, invalid or unenforceable under any present or future law by the final judgment

of a court of competent jurisdiction, the remainder of this Agreement will not be affected

thereby.

       16.      Venue and Jurisdiction. Any dispute regarding the enforcement of this

Agreement shall be litigated in either the Court of Common Pleas of Philadelphia

County, Pennsylvania, or in the U.S. District Court for the Eastern District of

Pennsylvania.

       17.       Integration Clause. This Agreement represents the entire agreement

between the parties and there are no representations, warranties, or agreements other than

those expressly set forth herein.

       IN WITNESS WHEREOF, and intending to be legally bound hereby, this

Agreement has been signed by the Parties below.



Sworn to and subscribed before me this
_ _ _ day of                  , 2018



Notary Public                                      Bruce J. Chasan, Esq.


Sworn to and subscribed before me this
_ _ _ day of                 , 2018



Notary Public                                      Law Offices of Bruce J. Chasan, LLC


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Sworn to and subscribed before me this
_ _ _ day of                  , 2018



Notary Public                                John M. Pierce, Esq.


Sworn to and subscribed before me this
~--day of                     , 2018



Notary Public                                Pierce Bainbridge Beck Price &
                                             Hecht, LLP


Sworn to and subscribed befon~ me this
_ _ _ day of                  , 2018



Notary Public                                Lenwood Hamilton




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